        Case 8:04-cr-00521-SDM-MAP Document 138 Filed 05/18/05 Page 1 of 6 PageID 348
A 0 215B (Rev 12/03) Sheet 1 - Judgment in a Crinlinal Case


                             UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIILmAL CASE
                                                               CASE NUMBER: 8:04-cr-521-T-23MAP
                                                               USh4 NUMBER: 42373-018
VS.



ADILBERTO BIENA ORTIZ
                                                               Defendant's Attorney: Daniel Hernandez. cja

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.
-

TITLE & SECTION                               NATURE OF OFFENSE                          OFFENSE ENDED              COUNT

46 Appendix U.S.C. $4 1903(a),                Possession With Intent to Distribute 5     October 21, 2004           ONE
and 1903(g), 18 U.S.C. 8 2: and               Kilograms or More of Cocaine While
21 U.S.C. 8 960(b)(l)(B)(ii)                  Aboard a Vessel Subject to the
                                              Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1981.

X Count TWO is dismissed in accordance with the plea agreement.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all firles, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                 Date of Imposition of Sentence: May 9, 2005




                                                                                                                               1
                                                                                       STEVEN D. MERRYDAY
                                                                                 UNITED STATES DISTRICT JUDGE

                                                                                 DATE: May              2005
         Case 8:04-cr-00521-SDM-MAP Document 138 Filed 05/18/05 Page 2 of 6 PageID 349
A 0 2458 (Rev 12/03) Sheet 2 - lmprisonnlent
Defendant:         ADILBERTO BIENA ORTIZ                                                                   Judgment - Page 1of
Case No. :          8:01-cr-521-T-23MAP




                The defendant is hereby conlnlitted to the custody of the United States Bureau of Prisons ro be
imprisoncd for a total tern1 of NINTTY-SEVEN (97) hlONTHS as to count one of the Indictment.




-
X The court makes the following recomn~endationsto the Bureau of Prisons: that the defendant bc placed in FCI Fort Dix,
New Jersey.



X The defendant is rcnlanded to the custody of the United States biarshal.
-
- The defendant shall surrender to the United States Marshal fbr this district.
          - at - a.rn.1p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for servicr of sentence at the institution designated by the Bureau of Prisons.
           before 2 p.m. on -.
          -as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                       , with a certified copy of this judgment.


                                                                                        United States Marshal

                                                                       By:
                                                                       Deputy Marshal
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A 0 245B (Rev. 12103) Sheet 3 - Supervised Release
Defendant:         ADILBERTO BIENA ORTIZ                                                                   Judgment - Page 3 of 6
Case No.:          8:04-cr-521-T-23MAP

                                                       SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) hlOhXHS as to
count one of the Indictment.

        The defendant shall report to the probation office in the district to which the defendanr is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. Q 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation ofiicer.

          If this judgment imposes a fine or a restitution it is a condidon of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not lcave the judicial district without the permission of the court or probation officer;
          the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month:
          the dcfcndant shall answer truthfully all inquiries by the probation officcr and follow the instructions of the probation officer;
          the defendant shall support his or her dependents and meet other family responsibilitics;
          the defendant shall work regularly at a lawfd occupation, unless excused by the probation officcr for schooling, training. or other
          acceptable reasons:
          the defcndant shall notify the probation officer at least ten days prior to any change in residence or en~ployrncnt:

          the defendant shall refrain from cxccssive use of alcohol and shall not purchase. possess, use, distribute, or administer any
          controlled substance or any paraphcrnalia related to any controlled substances. exccpt as prcscribed by a physician;
          the defendant shall not frcqucnt places where controlled substances are illegally sold, used. distributed. or administered:
          the defcndant shall not associate with any persons cngagcd in criminal activity and shall not associate with any person convicted
          of a felony. unless granted permission to do so by the probation officer:
          the defendant shall pcrmit a probation officer to visit him or her at any timc at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer:

          the defcndant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforccment
          officcr;
          he defendant shall not enter into any agreement to act as an ~nformeror a special agent of a law enforcement agency uithout the
          permission of the court;
          as directed by the probation officcr. thc defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit thc probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
       Case 8:04-cr-00521-SDM-MAP Document 138 Filed 05/18/05 Page 4 of 6 PageID 351
A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        ADILBERTO BIENA ORTIZ                                                               Judgment - Page 4 of 6
Case No.:         8:04-cr-521-T-23MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        If the defendant is dcponed, he shall not re-enter the United Statcs without the express permission of the appropriate
         governmental authority.
       Case 8:04-cr-00521-SDM-MAP Document 138 Filed 05/18/05 Page 5 of 6 PageID 352
A 0 245B (Rev 12103) Sheet 5 - Criminal Monetary Penalties
 Defendant:         ADILBERTO BIENA ORTlZ                                                          Judgment - Page 5 of 6
 Case No.:          894-cr-521-T-23MAP

                                            CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under lhe schedule of payments on Sheet 6.
                            Asscssriierit                      -
                                                               Fine                       Total Restitution

         Totals:            $100.00                            $ waived                   $


-        The determination of restitution is deferred until -.          An Amended Jlrdgmterlr in a Criminal Case ( A 0 2492) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However. pursuant to 18 U.S.C. 5
         3664(i), all non-federal victims nust be paid before the dnited States.
                                                                                                            Priority Order or
                                                *Tot a1                    Amount of                        Percentage of
Name of Pavec                                 Amount of Loss            Restitution Ordered                 Payment




                            Totals:           $-                        L

-        Restitution amount ordered pursuant lo plea agreement S
-        The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenthJy after the date of the judgment, ursuant to 18 U.S.C. $3612(Q. All of the payment options on Sheet
                                                               f
         6 may be subject to penalties for delinquency and de ault, pursuant to 18 U.S.C. $ 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - tine     - restitution.

        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A. 110, 110A. and 113A of Title 18 for the offenses
                                                                   f
committed on or after September 13, 1994, but before April 23, 1 96.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        ADILBERTO BIENA ORTIZ                                                             Judgment - Page 6of 6
Case No.:         8:04-cr-521-T-23MAP


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.                Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   . or

                            -in accordance - C , - D. - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C. - D. or                           F below): or
C.       -        Payment in equal                 (e.g., weekly. monthly. quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after rhe
                  date of this judgment: or
D.       -        Payment in equal                 (e.g. weekly, monthly, quarterly) install~nentsof $             over a
                  period of             , (e.g ., mont s or years) to commence                  (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
E.       -        Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of                                     of criminal
        %                                                            f
moneta penalties is due during im risonment. All crirnina monetary penalties,
Federal ureau of Prisons' InmateF! inancial Responsibility Program, are made
                                                                                                                     made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitulion interest, (4) fine principal.
(5) community restitution. (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
